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                             EXHIBIT A
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Christina H. Martinez

From:                             Jean-Claude Mazzola <jeanclaude@mazzolalindstrom.com>
Sent:                             Sunday, June 18, 2023 1:55 AM
To:                               STEPHEN F. ROSENTHAL; Richard Lerner
Cc:                               aguan@gecpas.com; Christina H. Martinez; Chauncey Cole
Subject:                          RE: BLD v. CTX - continued depositions of BLD witnesses re: newly produced documents


Is there no compromise here…. I am in China on business this week and have been since Thursday AM. It would seem
to me that there ought to be a way to reach some compromise. I am somewhat behind on emails and so perhaps one
has been reached….



                         Jean-Claude Mazzola
                         Attorney
                         Mazzola Lindstrom LLP
                         1350 Avenue of the Americas, 2nd Floor New York, NY 10019
                         M: +1 (646) 250-6666 |O: +1 (646) 216-8585
                         jeanclaude@mazzolalindstrom.com




From: STEPHEN F. ROSENTHAL <SROSENTHAL@podhurst.com>
Sent: Friday, June 16, 2023 3:32 PM
To: Richard Lerner <Richard@mazzolalindstrom.com>
Cc: Jean-Claude Mazzola <jeanclaude@mazzolalindstrom.com>; aguan@gecpas.com; Christina H. Martinez
<cmartinez@podhurst.com>; Chauncey Cole <chauncey.cole@coletrial.com>
Subject: Re: BLD v. CTX - continued depositions of BLD witnesses re: newly produced documents

Rich,

We truly wanted to be able to agree to extend you guys the professional courtesy of a several-day extension of time,
and our client is not opposed, but looking more closely at the calendar, we just can't agree.

Both of the CTX lawyers who handled the discovery and summary judgment briefing, myself and Christina, have made
plans for the July 4 holiday weekend, and giving you a few extra days (assuming Judge Scola were to agree) would make
our reply brief due at a time that would ruin that long weekend. As you know, Chauncey was not involved in taking any
of the Benlida witnesses' depositions (that went into the SJ motion), and he wasn't able to participate in the SJ motion
work either, so he is not in a position to take the lead on the reply.

Just so you (or your client) don't think this is mere posturing, and to show you how much thought we've put into this, let
me me more specific. Your brief is currently due on Friday, June 23, since we filed on Friday, June 9. (We filed the
corrected version of the motion after midnight since we realized the original filing somehow didn't include pages with a
signature block or certificate of service.) Our reply will be due on Friday, June 30. On that date, I will be in a rented
house in coastal Maine with my wife, and we have close friends coming from Boston to stay with us for the holiday
weekend, from July 1-4. As it stands, I will finish and file our reply brief on June 30, just before my guests arrive.

If we extend your deadline, that will mean I will need to sacrifice my holiday weekend on vacation with friends. That
would an unreasonable sacrifice to ask me to make.
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Asking to extend your deadline later doesn't work for me either. I'm flying back to Miami all day on Friday, July 7, and I
want to make sure we have the full week the local rules give us to reply to your response. Also, Judge Scola has made
clear that the time from the completion of briefing on dispositive motions until trial is time the court needs, so any
sizable extension cuts into his time. So that's not workable either.

I'm sorry we cannot accommodate you on this.

Regards,

Stephen

        On Jun 16, 2023, at 1:01 PM, Richard Lerner <Richard@mazzolalindstrom.com> wrote:


        Just following up to see how much time you can consent to?


        From: STEPHEN F. ROSENTHAL <SROSENTHAL@podhurst.com>
        Sent: Wednesday, June 14, 2023 8:32 PM
        To: Richard Lerner <Richard@mazzolalindstrom.com>
        Cc: Jean-Claude Mazzola <jeanclaude@mazzolalindstrom.com>; AGUAN@GECPAS.COM
        <aguan@gecpas.com>; Christina H. Martinez <cmartinez@podhurst.com>; Chauncey Cole
        <chauncey.cole@coletrial.com>
        Subject: RE: BLD v. CTX - continued depositions of BLD witnesses re: newly produced documents

        Rich,

        Regarding your request for an extension of time for your opposition to CTX’s motion for
        summary judgment, I’m sorry but we cannot consent to a request for such a lengthy
        extension. That would push our reply well into the time that the parties need to be focusing on
        expert discovery and pre-trial motions.

        We are happy to inquire with our client whether they would not oppose a much shorter
        extension, purely as a courtesy.

        Regards,

        Stephen

        Stephen F. Rosenthal I Partner I Podhurst Orseck, P.A. I Miami, FL I 305-358-2800 I
        www.podhurst.com



        From: Richard Lerner <Richard@mazzolalindstrom.com>
        Sent: Wednesday, June 14, 2023 5:57 PM
        To: STEPHEN F. ROSENTHAL <SROSENTHAL@podhurst.com>
        Cc: Jean-Claude Mazzola <jeanclaude@mazzolalindstrom.com>; AGUAN@GECPAS.COM; Christina H.
        Martinez <cmartinez@podhurst.com>; Chauncey Cole <chauncey.cole@coletrial.com>
        Subject: RE: BLD v. CTX - continued depositions of BLD witnesses re: newly produced documents


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   I’ve inquired as to who would be the appropriate witness to testify, and as to the dates, and whether it
   is actually necessary for the witness to travel to HK for deposition. We’ll be checking with an attorney in
   China. So I’ll get back to you about the witness within the next two days – Monday, at the latest.

   Meantime, please advise if you’ll consent to a July 14th due date for our opposition to the MSJ. The
   current due date is June 26.




   Richard E. Lerner
   Mazzola Lindstrom LLP
   1350 Avenue of the Americas, 2nd Floor, New York, NY 10019
   1999 Avenue of the Stars, Ste. 1100, Los Angeles, CA 90067
   D: 646.813.4345 | M: 917.584.4864 |
   richard@mazzolalindstrom.com | http://www.mazzolalindstrom.com
   NEW YORK * LOS ANGELES

   From: STEPHEN F. ROSENTHAL <SROSENTHAL@podhurst.com>
   Sent: Tuesday, June 13, 2023 6:43 PM
   To: Richard Lerner <Richard@mazzolalindstrom.com>
   Cc: Jean-Claude Mazzola <jeanclaude@mazzolalindstrom.com>; AGUAN@GECPAS.COM; Christina H.
   Martinez <cmartinez@podhurst.com>; Chauncey Cole <chauncey.cole@coletrial.com>
   Subject: BLD v. CTX - continued depositions of BLD witnesses re: newly produced documents

   Rich,

   In light of the documents Benlida produced after Roger Wu’s deposition on May 25 and the
   Jindie “extraction” documents provided on June 8, after all of the depositions were done, we
   would like to depose the appropriate Benlida witnesses about them. You’ll recall that we left the
   depositions open to address any new materials, and you and I agreed to conduct them remotely
   in this fashion.

   We’d certainly like to depose Roger Wu about them, since we presume as CFO he would be
   knowledgeable about them. We have yet to study them closely enough, but we may also want
   to ask others about them. Please consider this an informal notice of the continuation of Roger
   Wu’s deposition.

   If any other Benlida witness we deposed would be more knowledgeable about any of the
   documents, please advise, since we want to conduct these remaining parts of the deposition(s)
   efficiently. I don’t anticipate that each continued deposition will take more than an hour given
   the limited scope of questioning regarding a discrete set of recently produced documents.

   We would like to schedule the deposition(s) by Zoom on either July 10, 11 or 12. We
   understand the witness(es) will need to travel to Hong Kong or another location outside of China
   to conduct the remote deposition, which may take some time to coordinate, so please advise as
   soon as possible if there is a suitable date that would work for the deposition that week.

   Regards,

   Stephen
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   Stephen F. Rosenthal I Partner I Podhurst Orseck, P.A. I Miami, FL I 305-358-2800 I
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